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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   20 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :                                  NOTICE OF MOTION
and CHRISTIAN A. LARSEN,                                                :   FOR SUMMARY
                                                                        :   JUDGMENT
                                             Defendants.                :
                                                                        :
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NOTICE OF PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S MOTION
  FOR SUMMARY JUDGMENT ON LIABILITY AGAINST ALL DEFENDANTS

        PLEASE TAKE NOTICE that, on September 13, 2022, Plaintiff Securities and Exchange

Commission (“SEC”) hereby respectfully moves for an order from the Court granting summary

judgment on liability as to all claims against Defendants Ripple Labs, Inc., Bradley Garlinghouse,

and Christian A. Larsen. Upon the accompanying Plaintiff SEC’s Local Civil Rule 56.1 Statement of

Undisputed Material Facts, dated September 13, 2022, Plaintiff SEC’s Memorandum of Law in

Support, the Declaration of Ladan F. Stewart, dated September 13, 2022, with the exhibits thereto;

the Declaration of Mark R. Sylvester, dated September 13, 2022, with the exhibits thereto; the

Declaration of Jorge Gerardo Tenreiro, dated September 13, 2022, with the exhibits thereto; the

Declaration of Daphna A. Waxman, dated September 13, 2022, with the exhibits thereto; and all

prior proceedings and pleadings in this action, Plaintiff SEC makes the motion before the

Honorable Analisa Torres, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl

Street, New York, New York 10007.
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